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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


SERIN VURGUN,
on behalf of herself, FLSA Collective Plaintiffs,
and the Class,
                                                             Case No.:
       Plaintiff,
                                                             CLASS AND COLLECTIVE
       v.                                                    ACTION COMPLAINT

MAIMONIDES MEDICAL CENTER,                                   Jury Trial Demanded
and KENNETH GIBBS,

       Defendants.


       Plaintiff, SERIN VURGUN (“Plaintiff VURGUN” or “Plaintiff”), on behalf of herself

and others similarly situated, by and through her undersigned attorneys, hereby files this Class

and Collective Action Complaint against Defendants, MAIMONIDES MEDICAL CENTER

(“Corporate Defendant”), and KENNETH GIBBS (“Individual Defendant,” and together with

Corporate Defendant, “Defendants”), and states as follows:

                                       INTRODUCTION

       1.      Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§ 201 et seq. (“FLSA”), that she and others similarly situated are entitled to recover from

Defendants: (1) unpaid wages, including overtime, due to an impermissible policy of rounding




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hours down; (2) unpaid wages, including overtime, due to time shaving; (3) liquidated damages;

and (4) attorneys’ fees and costs.

       2.      Plaintiff further alleges, pursuant to the New York Labor Law (“NYLL”), that she

and others similarly situated are entitled to recover from Defendants: (1) unpaid wages, including

overtime, due to an impermissible policy of rounding hours down; (2) unpaid wages, including

overtime, due to time shaving; (3) compensation for late payment of wages; (4) liquidated

damages; (5) statutory penalties; and (6) attorneys’ fees and costs.

       3.      Plaintiff further alleges that, pursuant to New York State Human Rights Law N.Y.

Exec. Law § 296 (“NYSHRL”), Plaintiff is entitled to recover from Defendants for religion, and

gender discrimination: (1) back wages; (2) compensatory and punitive damages; and (3)

attorneys’ fees and costs.

       4.      Plaintiff further alleges that, pursuant to New York City Human Rights Law

Administrative Code of City of NY § 8-107 (“NYCHRL”), Plaintiff is entitled to recover from

Defendants for religion, and gender discrimination: (1) back wages; (2) compensatory and

punitive damages; and (3) attorneys’ fees and costs.

                                JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this controversy pursuant to 29 U.S.C. § 216(b),

28 U.S.C. §§ 1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

       6.      Venue is proper in the Eastern District pursuant to 28 U.S.C. § 1391.

                                            PARTIES

       7.      Plaintiff SERIN VURGUN is a resident of Suffolk County, New York.




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       8.     Corporate Defendant MAIMONIDES MEDICAL CENTER is a domestic not-for-

profit corporation organized under the laws of the State of New York, with a principal place of

business and an address for service of process located at 4802 10th Ave, Brooklyn, NY 11219.

       9.     Individual Defendant KENNETH GIBBS is the President and CEO of Corporate

Defendant MAIMONIDES MEDICAL CENTER and has operational control of Corporate

Defendant. Individual Defendant KENNETH GIBBS exercises the power to (and also delegate

to managers and supervisors the power to) (i) fire and hire employees, (ii) supervise and control

employee work schedules, (iii) determine the rate and method of pay, (iv) maintain employment

records, and (v) otherwise affect the quality, terms and conditions of employment for Plaintiff,

FLSA Collective Plaintiffs and Class Members of Corporate Defendant MAIMONIDES

MEDICAL CENTER. Individual Defendant KENNETH GIBBS has authority over all

employee-related decisions, including payroll, personnel, and wage and hour policies concerning

Plaintiff, FLSA Collective Plaintiffs and Class Members. Individual Defendant KENNETH

GIBBS additionally exercises the authority to fire and hire, supervise and control work

schedules, determine rate and method of pay, maintain employment records, and otherwise affect

the terms and conditions of employment for managerial employees who directly supervise

Plaintiff, FLSA Collective Plaintiffs and Class Members. Individual Defendant KENNETH

GIBBS ensures that managers implement Defendants’ employment policies and pay practices

and directs employees to effectively complete their job duties so that Corporate MAIMONIDES

MEDICAL CENTER is operating efficiently and profitably.

       10.    At all relevant times, Corporate Defendant was and continues to be an “enterprise

engaged in commerce” within the meaning of the FLSA and NYLL and the regulations

thereunder.




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       11.     At all relevant times, the work performed by Plaintiff, FLSA Collective Plaintiffs

and Class Members were directly essential to the business operated by Defendants.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       12.     Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt employees (including but not limited to

paramedics, EMTs, ambulance drivers, and dispatchers among others) employed by Defendants

at MAIMONIDES MEDICAL CENTER on or after the date that is six (6) years before the filing

of the Complaint in this case as defined herein (“FLSA Collective Plaintiffs”).

       13.     At all relevant times, Plaintiff and FLSA Collective Plaintiffs are and have been

similarly situated, have had substantially similar job requirements and pay provisions, and are

and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them proper overtime wages at the rate of one-and-one-half times the regular rate of pay due to

an impermissible policy of rounding and time shaving. The claims of Plaintiff stated herein are

essentially the same as those of FLSA Collective Plaintiffs.

       14.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b). The FLSA

Collective Plaintiffs are readily ascertainable. For purposes of notice and other purposes related

to this action, their names and addresses are readily available from Defendants. Notice can be

provided to the FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.




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                     RULE 23 CLASS ALLEGATIONS – NEW YORK

       15.     Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

(“F.R.C.P.”) Rule 23, on behalf of all non-exempt employees (including but not limited to

paramedics, EMTs, ambulance drivers, and dispatchers among others) employed by Defendants

at MAIMONIDES MEDICAL CENTER on or after the date that is six (6) years before the filing

of the Complaint in this case as defined herein (the “Class” or “Class Members”).

       16.     The Class Members are readily ascertainable. The number and identity of the

Class Members are determinable from the records of Defendants. The hours assigned and

worked, the position held, and rates of pay for each Class Member are also determinable from

Defendants’ records. For purposes of notice and other purposes related to this action, their names

and addresses are readily available from Defendants. Notice can be provided by means

permissible under F.R.C.P. 23.

       17.     The proposed Class is so numerous that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown, the facts on which the calculation of that number

are presently within the sole control of Defendants, there is no doubt that there are more than

forty (40) Members of the Class.

       18.     Plaintiff’s claims are typical of those claims, which could be alleged by any

member of the Class, and the relief sought is typical of the relief, which would be sought by each

member of the Class in separate actions. All Class Members were subject to the same corporate

practices of Defendants, as alleged herein, of (i) failing to pay them the proper wages, including

overtime, due to an impermissible policy of rounding hours down; (ii) failing to pay them the

proper wages, including overtime, due to time shaving; (iii) late payment of wages; (iv) failing to




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provide proper wage statements per requirements of the NYLL; and (v) failing to provide proper

wage and hour notices per requirements of the NYLL.

       19.     Defendants’ corporate-wide policies and practices affected all Class Members

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class Member. Plaintiff and Class Members sustained similar losses, injuries and damages

arising from the same unlawful policies, practices and procedures.

       20.     Plaintiff is able to fairly and adequately protect the interests of the Class and have

no interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced

and competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

       21.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation

where individual class members lack the financial resources to vigorously prosecute a lawsuit

against a corporate defendant. Class action treatment will permit a large number of similarly

situated persons to prosecute common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender. Because losses, injuries and damages suffered by each of the individual Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Class

members to redress the wrongs done to them. On the other hand, important public interests will

be served by addressing the matter as a class action. The adjudication of individual litigation

claims would result in a great expenditure of Court and public resources; however, treating the

claims as a class action would result in a significant saving of these costs. The prosecution of




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separate actions by individual members of the Class would create a risk of inconsistent and/or

varying adjudications with respect to the individual members of the Class, establishing

incompatible standards of conduct for Defendants and resulting in the impairment of class

members’ rights and the disposition of their interests through actions to which they were not

parties. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can, and is empowered to, fashion methods to efficiently

manage this action as a class action.

       22.     Defendants and other employers throughout the state violate the NYLL. Current

employees are often afraid to assert their rights out of fear of direct or indirect retaliation. Former

employees are fearful of bringing claims because doing so can harm their employment, future

employment, and future efforts to secure employment. Class actions provide class members who

are not named in the Complaint a degree of anonymity, which allows for the vindication of their

rights while eliminating or reducing these risks.

       23.     There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

               a) Whether Defendants employed Plaintiff and the Class Members within the

                   meaning of the NYLL;

               b) What are and were the policies, practices, programs, procedures, protocols and

                   plans of Defendants regarding the types of work and labor for which

                   Defendants did not pay Plaintiff and the Class Members properly;

               c) At what common rate, or rates subject to common methods of calculation,

                   were and are Defendants required to pay Plaintiff and the Class Members for

                   their work;




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           d) Whether Defendants properly notified Plaintiff and the Class Members of

              their regular hourly rate and overtime rate;

           e) Whether Defendants properly compensated Plaintiff and Class Members for

              all hours worked, including overtime hours

           f) Whether Defendants utilized an impermissible policy of rounding down hours

              of Plaintiff and Class Members;

           g) Whether Defendants failed to pay Plaintiff and the Class Members all wages

              owed due to a policy of time shaving;

           h) Whether Defendants paid Plaintiff and the Class Members the proper overtime

              wages at a rate that is at least one-and-one-half times the regular rate of pay

              for all hours worked in excess of forty (40) each workweek;

           i) Whether Defendants paid Plaintiff and Class Members their lawful wages in a

              timely manner;

           j) Whether Defendants provided proper wage statements informing the Plaintiff

              and the Class Members of their proper overtime rate of compensation and

              other information required to be provided on wage statements, as required

              under the NYLL;

           k) Whether Defendants provided proper wage and hour notices to Plaintiff and

              the Class Members at date of hiring, as required under the NYLL; and

           l) Whether Defendants provided to Plaintiff and the Class members proper wage

              statements with each payment of wages, as required under the NYLL.




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                                   STATEMENT OF FACTS

       24.     From in or about April 17, 2018, Plaintiff SERIN VURGUN was employed to

work as a paramedic for Defendant MAIMONIDES MEDICAL CENTER at a garage located at

1036 38th Street, Brooklyn, NY 11219. Plaintiff was fired in or around July 13, 2021 and

returned to work for Defendants on October 1, 2021. Plaintiff is still currently working for

Defendants.

       25.     Throughout her employment with Defendants, Plaintiff VURGUN regularly

worked three (3) days with two (2) shifts of sixteen (16) hours, and one (1) shift of eight (8)

hours for a total of forty (40) hours per week. However, in reality Plaintiff worked more than her

forty (40) scheduled hours, on a weekly basis.

       26.     Throughout her employment with Defendants, Plaintiff VURGUN was paid at

various rates. From in or around April 17, 2018, to in or around December 19, 2020, Plaintiff

was paid at an hourly rate of twenty-seven dollars and forty-two cents ($27.42) per hour. From in

or around December 20, 2020, to in or around April 10, 2021, Plaintiff was paid at an hourly rate

of thirty-two dollars and forty-one cents ($32.41) per hour. From in or around April 11, 2021, to

in or around July 13, 2021, Plaintiff was paid at an hourly rate of thirty-three dollars and eighty-

four cents ($33.84) per hour. From in or around October 1, 2021, to present day, Plaintiff was

paid thirty-four dollars and fifty-two cents ($34.52) per hour. At all times, Plaintiff VURGUN

was paid in check bi-weekly.

       27.     At all times, Plaintiff VURGUN’s job consisted of performing manual work. Her

duties included driving the ambulance, assisting and providing treatment for patients in need of

assistance, moving patients, moving supplies and equipment, etc. FLSA Collective Plaintiffs and

Class Members similarly performed such manual work.




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        28.     Throughout her employment with Defendants, Plaintiff VURGUN was not always

 paid the overtime premium of one-and-one-half times her regular rate of pay for her hours

 worked in excess of forty (40) per week due to Defendants’ impermissible policy of rounding

 hours down and time shaving, as required under the FLSA and NYLL.

        29.     Defendants subjected Plaintiff VURGUN to an impermissible and non-neutral

 policy whereby daily hours worked were rounded down to fifteen (15) minutes increments for

 purposes of calculating compensation. This policy of rounding down hours resulted in Plaintiff

 being compensated for less hours than she actually worked. Because she worked over forty (40)

 hours per week, this improper rounding resulted in unpaid overtime compensation. Likewise,

 FLSA Collective Plaintiffs and Class Members were subject to Defendants’ rounding policy and

 suffered uncompensated regular and overtime hours as a result.

        30.     Throughout her employment with Defendants, Plaintiff VURGUN was not paid

 for all hours worked, including overtime, because she was time shaved. Plaintiff would come in

 early and clock in thirty (30) minutes prior to her scheduled shift. However, Defendants did not

 pay her for these hours and only paid for her scheduled hours. This occurred three (3) times each

 week. Therefore, Plaintiff was time shaved about one and a half (1.5) hours each workweek.

 Class Members were similarly engaged in work prior to their scheduled shift but were not paid

 for these hours.

        31.     Throughout her employment with Defendants, Plaintiff regularly observed and

 spoke to her co-workers about Defendants’ pay practices and policies. Based on Plaintiff’s

 observations and conversations with her co-workers, all non-exempt employees employed by

 Defendants regularly worked similar hours that regularly exceeded forty (40) hours per

 workweek and were paid at similar hourly rates.




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         32.    Throughout Plaintiff’s employment, Defendants regularly failed to pay Plaintiff

 her wages within seven (7) days of the end of the week in which Plaintiff earned them, in

 violation of NYLL § 191(1)(a)(i). 1 Defendants would provide Plaintiff with checks every two (2)

 weeks. Therefore, Plaintiff and Class Members are owed liquidated damages equal to the late

 payment of wages and accrued interest on the delayed payments.

         33.    At all relevant times, the wage statements that Defendants provided to Plaintiff

 and Class Members were improper because they failed to accurately reflect the employees’ hours

 worked.

         34.    At all relevant times, Defendants failed to provide Plaintiff and Class Members

 with any wage and hour notices as required under the NYLL.

         35.    Defendants knowingly and willfully operated their business with a policy of not

 paying Plaintiff, FLSA Collective Plaintiffs and Class Members the proper overtime wages at a

 rate that is at least one-and-one-half times the regular rate of pay for hours worked in excess of

 forty (40) per workweek, in violation of the FLSA and NYLL.

         36.    Defendants knowingly and willfully operated their business with a policy of not

 providing proper wages statements to Plaintiff and Class Members as required under the NYLL,

 as the wage statements did not accurately reflect the number of hours worked by employees.

         37.    Defendants knowingly and willfully operated their business with a policy of not

 providing proper wage and hour notice to Plaintiff and Class Members as required under the

 NYLL.




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  See Vega v. CM & Assoc. Constr. Mgmt., LLC, 2019 NY Slip Op 06459, ¶¶ 1-2, 175 A.D.3d 1144, 1145-46,
 107 N.Y.S.3d 286, 287-88 (App. Div. 1st Dept.)




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        38.     In addition to the wage and hour violations, Defendants also discriminated against

 Plaintiff VURGUN on the basis of her religion and gender. Plaintiff is female who believes in

 Modern Orthodox Judaism.

        39.     When Plaintiff was hired, she informed Defendants that she was in the process of

 converting to Judaism and could not work Saturdays or on Jewish religious holidays to be

 observant of the practices of the faith. Initially, Defendants accommodated her schedule.

        40.     After two (2) years, management began to treat Plaintiff differently. One

 noticeable incident occurred on May 16, 2021, after Plaintiff requested time off on April 13,

 2021, to observe the holiday of Shavuot that fell on May 17, 2021, and May 18, 2021. A day

 prior to the holiday, Defendants had still not approved of her time off request. All of Plaintiff’s

 other Jewish co-workers had already been approved for time off. Plaintiff reached out to the

 scheduling officer, Ricardo Mendoza, to inquire about the request. Ricardo Mendoza responded

 by saying, “You are not considered an observer who requires the time off” and referred her to

 one of her Jewish supervisors, Israel Rosenberg, to follow up on this request. Plaintiff contacted

 Israel Rosenberg who replied, “did you convert already because we don’t have anything

 updated.” After numerous conversations and push back from Defendants, they eventually

 granted Plaintiff’s request.

        41.     Two years into her employment, supervisors and co-workers began to question

 Plaintiff’s religious beliefs and assumed she was not “Jewish enough” to be respected like one of

 them. Throughout her employment, supervisors, including Enrique Arroyo made comments

 about Plaintiff leaving early on Fridays to observe the Sabbath. For example, Enrique Arroyo

 and other supervisors asked Plaintiff, “Can you stay?” When Plaintiff said no, Enrique Arroyo




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 replied, “It’s not like you’re really Jewish.” At all other times Enrique Arroyo would shake his

 head and laugh derisively when Plaintiff left early on Fridays to observe the Sabbath.

         42.     Plaintiff was also discriminated because she was female. Plaintiff was denied

 accommodations because she was female. An example of such accommodation was that Plaintiff

 was denied her request to change her status to “per diem.” Plaintiff sought this change because

 she wanted to work fewer hours because of the unhealthy work environment. In contrast to

 Plaintiff, two new male employees were hired per diem during the same week Plaintiff asked for

 the change. Furthermore, an existing male employee requested and was granted per diem. The

 refusal to grant Plaintiff’s per diem request was an additional form of retaliation against

 Plaintiff’s pursuit of her Jewish faith.

         43.     Instances like above, which were a result of Plaintiff requesting time off for

 religious holidays, ultimately led to Plaintiff being fired at one point.

         44.     Because of the constant discrimination and harassment endured at the workplace,

 Plaintiff has been seeing a therapist since November 2021. Plaintiff suffered extreme mental

 anguish and found it difficult to carry out her normal routines.

         45.     Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

 Collective Plaintiffs and the Class, in this litigation and has agreed to pay the firm a reasonable

 fee for its services.




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                                    STATEMENT OF CLAIM

                                              COUNT I

                  VIOLATION OF THE FAIR LABOR STANDARDS ACT

          ON BEHALF OF PLAINTIFF AND FLSA COLLECTIVE PLAINTIFFS

        46.     Plaintiff realleges and reavers Paragraphs 1 through 45 of this Class and

 Collective Action Complaint as if fully set forth herein.

        47.     At all relevant times, Defendants were and continue to be employers engaged in

 interstate commerce and/or the production of goods for commerce within the meaning of the

 FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and FLSA Collective Plaintiffs are

 covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

        48.     At all relevant times, Defendants employed Plaintiff and FLSA Collective

 Plaintiffs within the meaning of the FLSA.

        49.     At all relevant times, Corporate Defendant had gross annual revenues in excess of

 $500,000.

        50.     At all relevant times, Defendants had a policy and practice of failing to pay

 overtime wages to Plaintiff and FLSA Collective Plaintiffs for hours worked in excess of forty

 (40) per workweek at the proper overtime rate that is at least one-and-one-half times the regular

 rate of pay due to an impermissible policy of rounding hours down and time shaving.

        51.     Records, if any, concerning the number of hours worked by Plaintiff and FLSA

 Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective Plaintiffs

 should be in the possession and custody of Defendants. Plaintiff intends to obtain these records

 by appropriate discovery proceedings to be taken promptly in this case and, if necessary, will

 then seek leave of Court to amend this Complaint to set forth the precise amount due.




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        52.     Defendants knew of and/or showed a willful disregard for the provisions of the

 FLSA as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs for all

 hours worked, including overtime hours, when Defendants knew or should have known such was

 due.

        53.     Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

 Plaintiffs of their rights under the FLSA.

        54.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

 Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e. double) damages pursuant

 to the FLSA.

        55.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and

 FLSA Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid

 wages, including overtime, due to an impermissible policy of rounding hours down; unpaid

 wages, including overtime, due to time shaving; plus an equal amount as liquidated damages.

        56.     Plaintiff and FLSA Collective Plaintiffs are entitled to an award of their

 reasonable attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).

                                              COUNT II

                      VIOLATION OF THE NEW YORK LABOR LAW

                   ON BEHALF OF PLAINTIFF AND CLASS MEMBERS

        57.     Plaintiff realleges and reavers Paragraphs 1 through 56 of this Class and

 Collective Action Complaint as if fully set forth herein.

        58.     At all relevant times, Plaintiff and Class Members were employed by Defendants

 within the meaning of the NYLL §§ 2 and 651.




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         59.     Defendants knowingly and willfully violated Plaintiff’s and Class Members’

 rights by failing to pay overtime wages for hours worked in excess of forty (40) per workweek at

 the proper overtime rate that is at least one-and-one-half times the regular rate of pay due to an

 impermissible policy of rounding hours down and time shaving, in violation of the NYLL.

         60.     Defendants willfully violated Plaintiff’s and Class Members’ rights by failing to

 pay them their wages within seven days of the end of the week in which they were earned, in

 violation of NYLL § 191(1)(a)(i).

         61.     Defendants knowingly and willfully failed to provide proper wage statements,

 which fail to reflect all hours worked, to Plaintiff and Class Members as required under the

 NYLL.

         62.     Defendants knowingly and willfully failed to provide proper wage and hour

 notices to Plaintiff and Class Members as required under the NYLL.

         63.     Due to the Defendants’ NYLL violations, Plaintiff and Class Members are

 entitled to recover from Defendants unpaid wages, including overtime, due to an impermissible

 policy of rounding hours down; unpaid wages, including overtime, due to time shaving; damages

 for unreasonably delayed payments, reasonable attorneys’ fees, liquidated damages, statutory

 penalties and costs and disbursements of the action, pursuant to NYLL.

                                            COUNT III

               VIOLATION OF THE NEW YORK STATE HUMAN RIGHTS LAW

         64.     Plaintiff realleges and reavers Paragraphs 1 through 63 of this Class and

 Collective Action Complaint as if fully set forth herein.




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        65.        The New York State Human Rights Law (“NYSHRL”) prohibits discrimination in

 the terms conditions, and privileges of employment, and the retaliation therefor, on the basis of

 an individual’s religion and gender.

        66.        Plaintiff is an employee and a qualified person within the meaning of the

 NYSHRL and Defendants are covered employees under the NYSHRL.

        67.        At all relevant times, Plaintiff is female and Defendants knew that Plaintiff

 believes in Modern Orthodox Judaism.

        68.        Defendants operated a business that discriminated against Plaintiff in violation of

 the NYSHRL by subjecting Plaintiff to a hostile work environment, in the form of failing to

 address the constant harassment and abuse made against Plaintiff on the basis of her religion and

 gender, and by terminating Plaintiff’s employment at one point.

        69.        Defendants’ conduct was intentional, malicious, and in reckless disregard of

 Plaintiff’s protected rights under the New York Executive Law § 296.

        70.        As a result of Defendants’ unlawful discriminatory practices, Plaintiff sustained

 injury including economic damages, and past and further physical and emotional distress.

        71.        Due to Defendants’ violations under the NYSHRL, Plaintiff is entitled to recover

 from Defendants: (1) back wages; (2) compensatory and punitive damages; and (3) attorneys’

 fees and costs.

                                              COUNT IV

              VIOLATION OF THE NEW YORK CITY HUMAN RIGHTS LAW

        72.        Plaintiff realleges and reavers Paragraphs 1 through 71 of this Class and

 Collective Action Complaint as if fully set forth herein.




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        73.        The New York City Human Right Law (“NYCHRL”) prohibits discrimination in

 the terms, conditions, and privileges of employment, and the retaliation thereof, on the basis of

 an individual’s religion, and gender.

        74.        At all relevant times, Plaintiff is female and Defendants knew that Plaintiff

 believes in Modern Orthodox Judaism.

        75.        Defendants have and have had at all relevant times herein, at least four (4)

 persons in their employment. Plaintiff is an employee and a qualified person within the meaning

 of the NYCHRL and Defendants are covered employees under the NYCHRL.

        76.        Defendants operated a business that discriminated against Plaintiff in violation of

 the NYCHRL by subjecting Plaintiff to a hostile work environment, in the form of failing to

 address the constant harassment and abuse made against Plaintiff on the basis of her religion, and

 gender, and by terminating Plaintiff’s employment at one point.

        77.        As a result of Defendants’ unlawful employment practices, Plaintiff sustained

 injury, including economic damages, the past and future physical and emotion distress, and costs

 of bringing this action.

        78.        Due to Defendants’ violation under the NYCHRL, Plaintiff is entitled to recover

 from Defendants: (1) back wages; (2) compensatory and punitive damages; and (3) attorneys’

 fees and costs.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of herself, FLSA Collective Plaintiffs and Class

 Members, respectfully requests that this Court grant the following relief:

        a.    A declaratory judgment that the practices complained of herein are unlawful under

              the FLSA, NYLL, NYSHRL, and NYCHRL;




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       b.   An injunction against Defendants and their officers, agents, successors, employees,

            representatives and any and all persons acting in concert with them as provided by

            law, from engaging in each of the unlawful practices, policies and patterns set forth

            herein;

       c.   An award of unpaid wages, including overtime compensation at the proper rate of

            one-and-one-half times the regular rate of pay for hours worked in excess of forty

            (40) per workweek, due to an impermissible policy of rounding hours down due

            under the FLSA and NYLL;

       d.   An award of unpaid wages, due to Defendants’ policy of time shaving under FLSA

            and NYLL;

       e.   An award of liquidated damages and interest for each late payment of wages

            pursuant to NYLL § 191(1)(a)(i);

       f.   An award of statutory penalties as a result of Defendants’ failure to comply with the

            NYLL wage notice and wage statement requirements;

       g.   An award of liquidated damages as a result of Defendants’ willful failure to pay the

            proper overtime wages, pursuant to the FLSA and/or NYLL;

       h.   An award of back pay and compensatory damages due under the NYSHRL and

            NYCHRL;

       i.   An award of punitive damages under the NYSHRL and NYCHRL;

       j.   An award of pre-judgment and post-judgment interest, costs and expenses of this

            action together with reasonable attorneys’ and expert fees;

       k.   Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

       l.   Designation of this action as a class action pursuant to F.R.C.P. 23;




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          m.   Designation of Plaintiff as Representative of the Class; and

          n.   Such other and further relief as this Court deems just and proper.

                                                JURY DEMAND

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

 jury on all issues so triable as of right by jury.


 Dated:    February 23, 2022                      Respectfully submitted,

                                         By:      /s/ C.K. Lee
                                                  C.K. Lee, Esq.

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